                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                               1:07mj86/1:07cr69


UNITED STATES OF AMERICA                          )
                                                  )
Vs.                                               )             ORDER
                                                  )
GUY KENNETH PENLAND.                              )
______________________________________            )


       THIS MATTER coming on to be heard before the undersigned, pursuant to a

Motion/Notice of Withdrawal (#07) filed herein by Christopher B. Reinhardt to withdraw as

attorney for the defendant, and it appearing to the court that Paul Louis Bidwell had filed a

Notice of Appearance on behalf of the defendant and that good cause has been shown for the

granting of said motion.

                                         ORDER

       IT IS, THEREFORE, ORDERED that the Motion/Notice of Withdrawal (#07) of

Christopher B. Reinhardt is hereby ALLOWED.




                                             Signed: August 15, 2007




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